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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                 Plaintiffs,
                                                        Civil Action No. 25-00400 (AHA)
         v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                 Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                 Plaintiffs,
                                                        Civil Action No. 25-00402 (AHA)
         v.

  DONALD J. TRUMP, et al.,

                 Defendants.



              DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants respectfully request that the Court take notice of an order issued today in

Personal Services Contractor Association v. Trump (“PSCA”), No. 1:25-cv-00469-CJN (D.D.C.).

In PSCA, an association of personal services contractors with the U.S. Agency for International

Development (“USAID”) raised claims challenging the government’s actions with regard to

USAID, similar to the claims raised by plaintiffs in these cases. The court issued an oral ruling

denying the PSCA plaintiff’s motion for a temporary restraining order. See Minute Entry, PSCA,
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No. 1:25-cv-00469-CJN (D.D.C. Mar. 6, 2025).1 The PSCA court found that the plaintiff had not

established irreparable harm. The court also found that the plaintiff was not likely to succeed on

the merits of its claim because the personal services contractors’ claims would need to be

channeled through an alternative forum; specifically, the PSCA court ruled that the claims

essentially arose out of contract disputes that must be brought through the Contract Disputes Act,

with exclusive jurisdiction in the Court of Federal Claims or the Civilian Board of Contract

Appeals.

Dated: March 6, 2025                                   Respectfully submitted,


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                                                       /s/ Indraneel Sur
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    Defendants can provide a transcript of the oral ruling as soon as it is available.
